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                             EXHIBIT A-1
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 17-24624-CIV-COOKE

       SECURITIES AND EXCHANGE COMMISSION,                                      )
                                                                                )
                                           Plaintiff,                           )
                                                                                )
       v.                                                                       )
                                                                                )
       ROBERT H. SHAPffiO,                                                      )
       WOODBRIDGE GROUP OF COMPANIES, LLC,                                      )
       d/b/a WOODBRIDGE WEALTH, et al.                                          )
                                                                                )
                                           Defendants.                          )
                                                                                )
                                                                                )

                                CONSENT OF DEBTOR DEFENDANTS

              1.     Defendants Woodbridge Group of Companies, LLC ("Woodbridge"), WMF

      Management, LLC ("WMF"), Woodbridge Structured Funding, LLC ("WSF"), Woodbridge

      Mortgage Investment Fund 1, LLC {''Fund I"), Woodbridge Mortgage Investment Fund 2, LLC

      (''Fund 2"), Woodbridge Mortgage Investment Fund 3, LLC ("Fund 3"), Woodbridge Mortgage

      Investment Fund 3A, LLC ("Fund 3A"), Woodbridge Mortgage Investment Fund 4, LLC ("Fund

      4"), Woodbridge Commercial Bridge Loan Fund 1, LLC ("Bridge Loan Fund 1''), Woodbridge

      Commercial Bridge Loan Fund 2, LLC ("Bridge Loan Fund 2"), and the 142 Woodbridge-

      Affiliated Property Limited Liability Companies and 130 Woodbridge-Affiliated Holding

      Limited Liability Companies (collectively, the "Property and Holding Companies," and with

      Woodbridge, WMF, WSF, Fund I, Fund 2, Fund 3, Fund 3A, Fund 4, Bridge Loan Fund I, and

      Bridge Loan Fund 2, "Debtor Defendants"), as identified in Appendix A, acknowledge having

      been served with the Amended Complaint in this action, and admit the Court's jurisdiction over

      the Debtor Defendants and over the subject matter of this action. The Debtor Defendants further
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        acknowledge entry of a Judgment entered a~ainst them by consent on May 21, 20 I 8 [DE 151].

                  2.     Without admitting or denying the allegations of the Amended Complaint (except

        as to personal and subject matter jurisdiction and except as otherwise provided herein in

       paragraph 10, which Debtor Defendants admit), Debtor Defendants hereby consent, subject to

       bankruptcy court approval in Debtor Defendants' pending Chapter 11 Bankruptcy Case [Case

       No. 17-12560-KJC (Bankr. D. DE), the "Bankruptcy Case"] to the entry of the Final Judgment in

       the form attached hereto (the "Final Judgment") and incorporated by reference herein, which,

       among other things, dismisses the Commission's civil penalty claim and orders disgorgement in

       the amount of $892,173,765 against them on a joint and several basis. which will be deemed

       satisfied by the Liquidation Trust (being formed pursuant to a Chapter 11 plan) becoming

       obligated to make distributions of substantially all of the net proceeds (taking into account the

       costs of administration of the Liquidation Trust and the Wind-Down Entity) from the disposition

       of the Debtor Defendants' assets (distributions of net proceeds to general unsecured creditors

      shall be permitted) to investors pursuant to a confirmed plan, provided that the Commission does

      not timely object to the plan.

              3.       Debtor Defendants waive the entry of findings of fact and conclusions of law

      pursuant to Rule 52 of the Federal Rules of Civil Procedure.

              4.       Debtor Defendants waive the right, if any, to a jury trial and to appeal from the

      entry of the Final Judgment.

             5.        Debtor Defendants enter into this Consent voluntarily and represent that no

      threats, offers, promises, or inducements of any kind have been made by the Commission or any

      member, officer, employee, agent, or representative of the Commission to induce Debtor

      Defendants to enter into this Consent.

             6.        Debtor Defendants agree that this Consent shall be incorporated into the Final


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        Judgment with the same force and effect as if fully set forth therein.

               7.      Debtor Defendants will not oppose the enforcement of the Final Judgment on the

        ground, if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil

        Procedure, and hereby waives any objection based thereon.

               8.     Debtor Defendants waive service of the Final Judgment and agree that entry of

       the Final Judgment by the Court and filing with the Clerk of the Court will constitute notice to

       Debtor Defendants of its terms and conditions. Debtor Defendants further agree to provide

       counsel for the Commission, within thirty days after the Final Judgment is filed with the Clerk of

       the Court, with an affidavit or declaration stating that Debtor Defendants have received and read

       a copy of the Final Judgment.

              9.      Consistent with 17 C.F.R. 202.5(f), this Consent resolves only the claims asserted

       against Debtor Defendants in this civil proceeding. Debtor Defendants acknowledge that no

       promise or representation has been made by the Commission or any member, officer, employee,

       agent, or representative of the Commission with regard to any criminal liability that may have

      arisen or may arise from the facts underlying this action or immunity from any such criminal

      liability. Debtor Defendants waive any claim of Double Jeopardy based upon the settlement of

      this proceeding, including the imposition of any remedy or civil penalty herein.            Debtor

      Defendants further acknowledge that the Court's entry of a permanent injunction may have

      collateral consequences under federal or state law and the rules and regulations of self-regulatory

      organizations, licensing boards, and other regulatory organizations.              Such collateral

      consequences include, but are not limited to, a statutory disqualification with respect to

      membership or participation in, or association with a member of, a self-regulatory organization.

      This statutory disqualification has consequences that are separate from any sanction imposed in

      an administrative proceeding. In addition, in any disciplinary proceeding before the Commission


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        based on the entry of the injunction in this action, Debtor Defendants understand that they shall

        not be pennitted to contest the factual allegations of the Amended Complaint in this action.

               10.     Debtor Defendants understand and agree to comply with the terms of 17 C.F.R.

        § 202.5(e), which provides in part that it is the Commission's policy "not to pennit a defendant or

       respondent to consent to a judgment or order that imposes a sanction while denying the

       allegations in the complaint or order for proceedings," and "a refusal to admit the allegations is

       equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies

       the allegations." As part of Debtor Defendants' agreement to comply with the terms of Section

       202.5(e), Debtor Defendants: (i) will not take any action or make or permit to be made any

       public statement denying, directly or indirectly, any allegation in the Amended Complaint or

       creating the impression that the Amended Complaint is without factual basis; (ii) will not make

       or pennit to be made any public statement to the effect that Debtor Defendants do not admit the

       allegations of the Amended Complaint, or that this Consent contains no admission of the

      allegations, without also stating that Debtor Defendants do not deny the allegations; and (iii)

      upon the filing of this Consent, Debtor Defendants hereby withdraw any papers filed in this

      action .to the extent that they deny any allegation in the Amended Complaint.               If Debtor

      Defendants breach this agreement, the Commission may petition the Court to vacate the Final

      Judgment and restore this action to its active docket. Nothing in this paragraph affects Debtor

      Defendants': (i) testimonial obligations; or (ii) right to take legal or factual positions against all

      parties other than the Commission in litigation or other legal proceedings pertaining to the

      underlying facts and allegations in this action.

             11.     Debtor Defendants hereby waive any rights under the Equal Access to Justice

      Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of

      law to seek from the United States, or any agency, or any official of the United States acting in



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       his or her official capacity, directly or indirectly, reimbursement of attorney's fees or other fees,

       expenses, or costs expended by Debtor Defendants to defend against this action. For these

       purposes, Debtor Defendants agree that Debtor Defendants are not the prevailing party in this

       action since the parties have reached a good faith settlement.

               12.          Debtor Defendants agree to promptly seek a court order in the Bankruptcy Case,

       pursuant to Fed.R.Bankr.P. 9019, authorizing Debtor Defendants to enter into this Consent and

       to the entry of Final Judgment.

               13.          Debtor Defendants agree that the Commission may, upon issuance of the court

       order in the Bankruptcy Case referenced in paragraph 12 above, present the Final Judgment to

      the Court for signature and entry without further notice.

               14.          Debtor Defendants agree that this Court shall retain jurisdiction over this matter

      for the purpose of enforcing the terms of the Final Judgment. The Bankruptcy Court shall

      continue to maintain jurisdiction over all such matters to which the Bankruptcy Court has

      jurisdiction over in the Bankruptcy Case.

      Dated:    j: 2 '( ( ;j
                                                                WGC .!J:!  ndent Manager LLC
                                                                Bradley Sharp-Chief Restructuring Officer
      STATEOF              Ca\,fu,J'\ilA.                   )
                                                            )   ss:
      COUNTY OF l_o.s                 .J\nge,.\ es          )

                                                                          , 2018, before me personally appeared Bradley
      Sharp, who [check one] 0:Q
                                              /   .
                                                  1s personally known to       me, or   LJ   produced a
                                                                                                          - - - --
      driver's license bearing his name and photograph as identification, and who executed this
      Consent with authority to do so as the manager of the Debtor Defendants, and acknowledged to
      me that he executed the same.



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           §
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                      ·-
                                ROBERTA L. ARANDA
                              Notary Public- California
                                 Los Angeles County     f
                                                                Notary Public , \20 be,--+~ L, Ar "-I\ d ct.
                                                                Commission Expires: A pn I 2 g , 2.o 2.1
                • .            Commission# 21 94449     -
                            My Comm. Expim Apr 28, 2021


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       H mer Bonner Jacobs                                      ~
                                 ~ ,...,   9. ?c. <<.I \..5,,   &.f"i .
       c Adam L. Schwartz, Esq.
       1200 Four Seasons Tower
       1441 Brickell A venue
       Miami, FL 33131
       Phone: (305) 350-5116
       Fax: (305) 982-0079
       aschwartzr@homerbonner.com

       Counsel for Debtor Defendants




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                                                     APPENDIX A
                        Shapiro Property LLCs                                Shapiro Holding LLCs
             #                                            #
                          Bankruptcy Filers                                   Bankruptcy Filers
             1       215 North 12th Street, LLC
             2     Addison Park Investments, LLC          1         H31 Addison Park Holding Company, LLC
             3      Anchorpoint Investments, LLC          2         Mll Anchorpoint Holding Company, LLC
             4      Arborvitae Investments, LLC           3          H32 Arborvitae Holding Company, LLC
             s       Archivolt Investments, LLC           4          M26 Archivolt Holding Company, LLC
         6        Arlington Ridge Investments, LLC    5            H2 Arlington Ridge Holding Company, LLC
         7          Arrowpoint Investments, LLC       6             M19 Arrowpoint Holding Company, LLC
         8            Baleroy Investments, LLC        7               H58 Baleroy Holding Company, LLC
         9          Bay Village Investments, LLC      8             H13 Bay Village Holding Company, LLC
         10         Bear Brook Investments, LLC       9             H15 Bear Brook Holding Company, LLC
         11        Beech Creek Investments, LLC       10            H46 Beech Creek Holding Company, LLC
         12         Black Bass Investments, LLC       11             HS3 Black Bass Holding Company, LLC
         13        Black Locust Investments, LLC      12            H28 Black Locust Holding Company, LLC
         14         Bluff Point Investments, LLC      13            H20 Bluff Point Holding Company, LLC
         15          Bowman Investments, LLC          14             H49 Bowman Holding Company, LLC
        16           Bramley Investments, LLC        15              H40 Bramley Holding Company, LLC
        17          Brise Soleil Investments, LLC    16             M27 Brise Soleil Holding Company, LLC
        18         Broadsands Investments, LLC       17            M28 Broadsands Holding Company, LLC
        19         Brynderwen Investments, LLC       18            M29 Brynderwen Holding Company, LLC
        20          Cablestay Investments, LLC       19             M13 Cablestay Holding Company, LLC
        21         Cannington Investments, LLC       20            M31 Cannington Holding Company, LLC
        22         Carbondale Glen Lot A-5, LLC
        23        Carbondale Glen Lot E-24, LLC
        24        Carbondale Glen Lot GV-13, LLC
        25        Carbondale Glen Lot SD-14, LLC
        26        Carbondale Glen Lot SD-23, LLC
                  Carbondale Glen Mesa Lot 19,
        27
                              LLC
        28       Carbondale Glen River Mesa, LLC     21                 Crystal Valley Holdings, LLC
                   Carbondale Glen Sundance
        29
                          Ponds, LLC
                   Carbondale Glen Sweetgrass
        30
                           Vista, LLC
        31         Carbondale Spruce 101, LLC
        32        Castle Pines Investments, LLC      22           M53 Castle Pines Holding Company, LLC
        33        Centershot Investments, LLC        23            M25 Centershot Holding Company, LLC
        34          Chaplin Investments, LLC         24             M76 Chaplin Holding Company, LLC
        35         Chestnut Investments, LLC         25                M79 Chestnut Company, LLC
       36        Chestnut Ridge Investments, LLC     26           HS Chestnut Ridge Holding Company, LLC




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         37     Clover Basin Investments, LLC     27          M45 Clover Basin Holding Company, LLC
         38     Coffee Creek Investments, LLC     28          M51 Coffee Creek Holding Company, LLC
         39      Crossbeam Investments, LLC       29           M14 Crossbeam Holding Company, LLC
         40       Crowfield Investments, LLC      30           M63 Crowfield Holding Company, LLC
         41    Crystal Woods Investments, LLC     31         M92 Crystal Woods Holding Company, LLC
         42       Daleville Investments, LLC      32            M72 Daleville Holding Company, LLC
         43      Derbyshire Investments, LLC      33          M39 Derbyshire Holding Company, LLC
         44    Diamond Cove Investments, LLC      34         H76 Diamond Cove Holding Company, LLC
        45     Dixville Notch Investments, LLC    35         H14 Dixville Notch Holding Company, LLC
                Dogwood Valley Investments,
        46                                        36         H7 Dogwood Valley Holding Company, LLC
                           LLC
        47      Dellis Brook Investments, LLC     37          M32 Dellis Brook Holding Company, LLC
        48      Dennington Investments, LLC       38          M9 Dennington Holding Company, LLC
        49      Doubleleaf Investments, LLC       39          M15 Doubleleaf Holding Company, LLC
        so       Drawspan Investments, LLC        40          M22 Drawspan Holding Company, LLC
        51       Eldredge Investments, LLC        41           M71 Eldredge Holding Company, LLC
        52         Elstar Investments, LLC        42             H25 Elstar Holding Company, LLC
        53     Emerald Lake Investments, LLC     43          H19 Emerald Lake Holding Company, LLC
        54       Fieldpoint Investments, LLC     44           M24 Fieldpoint Holding Company, LLC
               Franconia Notch Investments,
        55                                       45        M88 Franconia Notch Holding Company, LLC
                           LLC
        56      Gateshead Investments, LLC       46           MlO Gateshead Holding Company, LLC
        57      Glenn Rich Investments; LLC      47           M85 Glenn Rich Holding Company, LLC
        58     Goose Rocks Investments, LLC      48          M93 Goose Rocks Holding Company, LLC
        59     Goosebrook Investments, LLC       49          M68 Goosebrook Holding Company, LLC
        60     Graeme Park Investments, LLC      50          H68 Graeme Park Holding Company, LLC
        61     Gravenstein Investments, LLC      51          H26 Gravenstein Holding Company, LLC
        62     Green Gables Investments, LLC     52          H44 Green Gables Holding Company, LLC
        63      Grenadier Investments, LLC       53           H27 Grenadier Holding Company, LLC
        64    Grumblethorpe Investments, LLC     54        H41 Grumblethorpe Holding Company, LLC
        65     Hackmatack Investments, LLC       55        M87 Hackmatack Hills Holding Company, LLC
        66     Haffenburg Investments, LLC       56          M56 Haffenburg Holding Company, LLC
        67      Haralson Investments, LLC        57           H39 Haralson Holding Company, LLC
        68    Harringworth Investments, LLC      58         M33 Harringworth Holding Company, LLC
        69     Hazelpoint Investments, LLC       59          M80 Hazelpoint Holding Company, LLC
               Heilbron Manor Investments,
       70                                        60        H66 Heilbron Manor Holding Company, LLC
                          LLC
       71         Hollyline Owners, LLC          61                  Hollyline Holdings, LLC
       72      Hornbeam Investments, LLC         62          H35 Hornbeam Holding Company, LLC
       73        ldared Investments, LLC         63            H37 ldared Holding Company, LLC
       74      Imperial Aly Investments, LLC     64          H74 Imperial Aly Holding Company, LLC
       75       Ironsides Investments, LLC       65           M99 Ironsides Holding Company, LLC




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        76    Lenni Heights Investments, LLC    66         H43 Lenni Heights Holding Company, LLC
        77    Lilac Meadow Investments, LLC     67         H6 Lilac Meadow Holding Company, LLC
        78    Lincolnshire Investments, LLC     68         M17 Lincolnshire Holding Company, LLC
        79      Lonetree Investments, LLC       69           MS4 Lonetree Holding Company, LLC
        80     Longbourn Investments, LLC       70          M40 Longbourn Holding Company, LLC
        81     Mason Run Investments, LLC       71         M73 Mason Run Holding Company, LLC
        82    Melody Lane Investments, LLC      72          H8 Melody Lane Holding Company, LLC
             Merrimack Valley Investments,
        83                                      73       M90 Merrimack Valley Holding Company, LLC
                         LLC
        84      Mineola Investments, LLC        74           M61 Mineola Holding Company, LLC
       85     Monadnock Investments, LLC        75         H16 Monadnock Holding Company, LLC
       86      Moravian Investments, LLC        76          H60 Moravian Holding Company, LLC
              Mountain Spring Investments,
       87                                       77       M67 Mountain Spring Holding Company, LLC
                         LLC
       88      Mt. Holly Investments, LLC       78          M83 Mt. Holly Holding Company, LLC
       89       Mutsu Investments, LLC          79            H38 Mutsu Holding Company, LLC
       90      Newville Investments, LLC ·     80           M91 Newville Holding Company, LLC
       91     Old Carbon Investments, LLC      81          HSl Old Carbon Holding Company, LLC
       92    Old Maitland Investments, LLC     82         H55 Old Maitland Holding Company, LLC
       93      Owl Ridge Investments, LLC      83           M46 Owl Ridge Holding Company, LLC
       94      Papirovka Investments, LLC      84           H22 Papirovka Holding Company, LLC
       95    Pawtuckaway Investments, LLC      85          H4 Pawtuckaway Holding Company, LLC
       96     Pemberley Investments, LLC       86          M38 Pemberley Holding Company, LLC
       97    Pemigewasset Investments, LLC     87         H17 Pemigewasset Holding Company, LLC
       98    Pepperwood Investments, LLC       88         M9S Pepperwood Holding Company, LLC
       99       Pinney Investments, LLC        89            M70 Pinney Holding Company, LLC
       100      Pinova Investments, LLC        90            H23 Pinova Holding Company, LLC
       101   Quarterpost Investments, LLC      91         M34 Quarterpost Holding Company, LLC
       102    Red Woods Investments, LLC       92          M97 Red Woods Holding Company, LLC
       103    Ridgecrest Investments, LLC      93          M57 Ridgecrest Holding Company, LLC
       104    Riley Creek Investments, LLC     94          M75 Riley Creek Holding Company, LLC
       105    Rising Sun Investments, LLC      95          HS9 Rising Sun Holding Company, LLC
      106     Sagebrook Investments, LLC       96          M62 Sagebrook Holding Company, LLC
       107   Seven Stars Investments, LLC      97          HS4 Seven Stars Holding Company, LLC
      108      Silk City Investments, LLC      98           Hll Silk City Holding Company, LLC
      109    Silver Maple Investments, LLC     99         H30 Silver Maple Holding Company, LLC
      110    Silverthorne Investments, LLC     100        M41 Silverthorne Holding Company, LLC
      111     Springline Investments, LLC      101         M36 Springline Holding Company, LLC
      112     Squaretop Investments, LLC       102         M49 Squaretop Holding Company, LLC
      113      Stayman Investments, LLC        103          H24 Stayman Holding Company, LLC
      114     Steele Hill Investments, LLC     104         M86 Steele Hill Holding Company, LLC
      115     Stepstone Investments, LLC       105         MS Stepstone Holding Company, LLC




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              Strawberry Fields Investments,
       116                                       106          H9 Strawberry Fields Holding Company, LLC
                           LLC
       117    Sturmer Pippin Investments, LLC    107           H36 Sturmer Pippin Holding Company, LLC
       118     Summerfree Investments, LLC      108             H21 Summerfree Holding Company, LLC
       119     Summit Cut Investments, LLC      109             H47 Summit Cut Holding Company, LLC
               Thornbury Farm Investments,
       120                                      110           H65 Thornbury Farm Holding Company, LLC
                           LLC
       121    Thunder Basin Investments, LLC    111            M60 Thunder Basin Holding Company, LLC
       122      Topchord Investments, LLC       112              M37 Topchord Holding Company, LLC
       123      Vallecito Investments, LLC      113              M48 Vallecito Holding Company, LLC
       124        Varga Investments, LLC        114               M74 Varga Holding Company, LLC
       125     Wetterhorn Investments, LLC      115            MS0 Wetterhorn Holding Company, LLC
       126     White Birch Investments, LLC     116             H12 White Birch Holding Company, LLC
       127    White Dome Investments, LLC       117            M43 White Dome Holding Company, LLC
       128     Wildernest Investments, LLC      118             M44 Wildernest Holding Company, LLC
       129    Willow Grove Investments, LLC     119            H52 Willow Grove Holding Company, LLC
       130   Winding Road Investments, LLC      120           M94 Winding Road Holding Company, LLC
       131       Zestar Investments, LLC        121               H29 Zestar Holding Company, LLC
       132         695 Buggy Circle, LLC        122                  Buggy Circle Holdings, LLC
       133     Carbondale Glen Lot L-2, LLC     21                   Crystal Valley Holdings, LLC
       134    Carbondale Peaks Lot L-1, LLC     21                   Crystal Valley Holdings, LLC
       135   Deerfield Park Investments, LLC    123           HlO Deerfield Park Holding Company, LLC
       136     Frog Rock Investments, LLC       124             M77 Frog Rock Holding Company, LLC
       137     Hawthorn Investments, LLC        125             H33 Hawthorn Holding Company, LLC
       138     Lilac Valley Investments, LLC    126            M96 Lilac Valley Holding Company, LLC
      139     Massabesic Investments, LLC       127            H18 Massabesic Holding Company, LLC
             Mount Washington Investments,
      140                                       128         M89 Mount Washington Holding Company, LLC
                         LLC
      141     Sachs Bridge Investments, LLC     129            H50 Sachs Bridge Holding Company, LLC
      142      Springvale Investments, LLC      130            MS8 Springvale Holding Company, LLC




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